Case 1:23-cv-24163-RAR Document 56 Entered on FLSD Docket 02/06/2024 Page 1 of 2




                       UNITED STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
                               CASE NO. 23-cv-24163-RAR

   XYZ CORPORATION,

   Plaintiff,

   v.

   THE INDIVIDUALS, PARTNERSHIPS AND
   UNINCORPORATED ASSOCIATIONS IDENTIFIED
   ON SCHEDULE “A”,

   Defendants.
  _______________________________________________/
        NOTICE OF VOLUNTARY DISMISSAL AS TO CERTAIN DEFENDANTS ONLY


          PLEASE TAKE NOTICE, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) and by

  undersigned counsel, Plaintiff hereby voluntarily dismisses with prejudice all claims against

  the following Defendants:

                      Defendant No.               Store Name as Identified on Schedule A
                           74                                 trendings_24
                           43                                 JoujouuStore
                           41                               LafaVida Direct
                           32                                   zhanjieUS
                           33                              zhouhuankuajingus


  Respectfully submitted on this 5th day of February, 2024.

                                               LAW FIRM OF RUBIO & ASSOCIATES, P.A.
                                               Attorneys for Plaintiff
                                               8950 SW 74 Ct., Suite 1804
                                               Miami, Fl 33156
                                               Telephone: (786) 220-2061
                                               Facsimile: (786) 220-2062
                                               Email: hrubio@rubiolegal.com
                                               Email: frubio@rubiolegal.com
                                               Email: info@rubiolegal.com

                                                  1
Case 1:23-cv-24163-RAR Document 56 Entered on FLSD Docket 02/06/2024 Page 2 of 2




                                     By:/s/ Humberto Rubio
                                     Felipe Rubio, Esq.
                                     Florida Bar No. 123059
                                     Humberto Rubio, Jr., Esq.
                                     Florida Bar No. 36433




                                       2
